
Kinsey C. J.
We are all of opinion the evidence is admissible. In the case of Collins v. Blanturn (b) where a similar question arose, every argument which has been urged on this occasion was eagerly pressed, but unsuccessfully. In the case of Stratton v. Rastall which has been cited, it was permitted to show that, although a receipt was signed by two executors, tbe money was received only by one. It is contrary to every principle of law and equity to permit a man to shelter himself behind his own fraudulent acts. It is the du - ty of a court of justice (as Wilmot C. J. says) to brush away the cobwebs, and look at the truth of the case.
• The evidence offered by the plaintiff is not to vary a written contract, but to show it was obtained by fraudulent means, and representations which altogether destroy its validity.
Kinsey C. J.
charged the jury as follows,' — •
The question to be determined, is whether the acquittance of the debt which has been offered in evidence by the defendant was obtained fairly, or under circumstances, which being considered by the law as fraudulent, render it invalid. If fairly obtained it is unquestionably a bar; but if you should think it was -procured by a misrepresentation of material facts, it is your duty to disregard it altogether. Fraud vitiates all contracts; it renders them absolutely void; and can no more furnish a valid ground of defence than of action, (c) This is the general doctrine of the law, and having been previously expressed by the court appears to be fully acquiesced in. All that remains is to suggest a few observations and rules which may assist you in determining this question of fraud.
*51if the defendant assured the plaintiff that Harris was a * if ability, sufficient to discharge his note, and the plaintiff upon the faith of this representation did accept the note in payment for the horses, and Harris at the time was insolvent, in such case the assurance is in the eye of the law fraudulent, wnd the acquittance thus obtained void. It is perfectly immaterial so far as regards the question of law, whether Find-icy knew or did not know the falsity of the facts which he represented. So far as concerns the morality of the action, diere is unquestionably a vast difference, b.ut there is none in the law, Bree v. Holbech. (a)
With regard to the question, whether the plaintiff used due diligence in prosecuting this note, and endeavouring to procure satisfaction from Harris, the testimony is variant. It never has been settled in Netu-f ersey what shall be considered as reasonable time so as to discharge the party liable over.
Every case must rest upon its own basis, and you are to judge from the evidence before you whether the plaintiff has been guilty of any laches.
Another point was raised by the counsel. It has been contended that a note never can discharge a precedent debt, and therefore the defendant is not exonerated, supposing every fact of his case to be admitted. This is the general mle of the law, it must however commonly depend on the contract, and in this case the defendant claims an acquittance •finder the receipt in full. It is further to be observed, that if a creditor accepts a collateral satisfaction of this kind, and through his own negligence or omission the note becomes useless by the insolvency of the drawer, he must bear the consequences of his own neglect, (b)
Verdict for plaintiff

 8 Wils. 341.


 Note. — &lt; ^ A receipt in full, is only prima facie evidence of a discharge and is aiways open to inquiry. Knight v. Cole, 1 Eq. Ca. Ab. 170. 1 Pow. on Cont. 391. Stratton v. Rastall, 2 T. R. 366. Middleditch v. Sharland 5 Ves. jr. 87. Fitch v. Sutton, 5 East. 232. Ensign v. Webster, 1 Johns. Ca. 145. Harrison v. Close, 2 Johns. Rep. 449. Tobey v. Barber, 5 Johns. 68. Putnam v. Lewis, 8 Johns. 389. Thorne v. White, 1 Peters 178, Jackson v. White, Ibid 179.


 Dougl. 654.


 Note. — See Brewer v. Jones. 3 Johns. 230.

